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April 4, 2018                                                                            New York, NY 10019-6099
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VIA ECF

Honorable Ona T. Wang
United States Magistrate Judge
United States District Court
for the Southern District of New York
500 Pearl Street
New York, New York 10007

Re:     BSG Resources (Guinea) Limited et al. v. George Soros et al., Case No. 1:17-cv-02726 (JFK)
        (the "Action")

Dear Judge Wang:

We represent Defendants in the Action. We write to inform the Court of recent correspondence regarding
the letter rogatory to the Registrar of the Supreme Court of the British Virgin Islands (the "Registrar")
issued by Magistrate Judge Andrew J. Peck on November 2, 2017, which seeks the production of certain
documents from Pentler Holdings Ltd. (the "Pender Letter Rogatory"). (Order Issuing A Letter Of
Request (Letter Rogatory) For The Production Of Documents In The British Virgin Islands Pursuant To
The Hague Convention, Dkt. No. 123.)

On November 29, 2017, after Defendants transmitted the Pentler Letter Rogatory to the Registrar, the
Court entered an order staying the Action. (Stay Order, Dkt. No. 136.) Notwithstanding the stay, on
December 7, 2017, Magistrate Judge Peck ordered that discovery pursuant to the outstanding letters
rogatory previously sought by Defendants, including the Pentler Letter Rogatory, would proceed during
the stay. (December 7 Order, Dkt. No. 141.) On December 21, 2017, Defendants filed an objection,
which asked the Court to overrule Magistrate Judge Peck's order as inconsistent with the stay and order
that the outstanding letters rogatory, including the Pender Letter Rogatory, would not proceed during
the stay (the "Objection"). (Objection, Dkt. No. 142.) As of the date of this letter, the Objection remains
pending.

In an email to Defendants' counsel dated March 29, 2018, Plaintiffs' counsel stated that he was "advised
that the Soros letters rogatory to BVI re Pentler is still in process." (Email from L. Solomon to E. Bower
et al., dated Mar. 29, 2018 (attached as Exhibit A).) Plaintiffs' counsel asserted that this "would not
seem to be in compliance with the stay" and that "if [Defendants] are not taking any steps to stop the
process [Defendants] should be seeking guidance from the Court." (Id.) Defendants are not aware of
any developments regarding the Pentler Letter Rogatory since the entry of the stay and Defendants
dispute any suggestion that they have not complied with the stay. Nonetheless, in light of Plaintiffs'
correspondence, the stay, and Defendants' pending Objection, Defendants have informed the Registrar




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that Defendants do not intend to pursue the enforcement of the Pender Letter Rogatory until further
notice. (Letter from J. Baio to Registrar, dated Apr. 4, 2018 (attached as Exhibit B).)

Respectfully submitted,

s/ Joseph T. Baio

Joseph T. Baio


cc:    Judge John F. Keenan
       All counsel of record




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